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           UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

 In Re                                                          )
                                                                )    Case No: 15-22146 MER
      Calvo, Roy                                                )    Chapter 7
      Calvo, Della                                              )
      ###-##-3823                                               )
      ###-##-1078                                               )
                                            Debtors             )


                      MOTION TO APPROVE COMPROMISE AND SETTLEMENT


       Jeanne Y. Jagow, Chapter 7 Trustee ("Trustee"), hereby moves the Court to enter an Order
approving a compromise and settlement entered into by and between the Chapter 7 Trustee and the Debtors,
pursuant to 11 U.S.C. §105 and Federal Rule of Bankruptcy Procedure 9019, as follows:

          1.      The Debtors filed a voluntary Chapter 7 bankruptcy petition on October 30, 2015. The
                  Meeting of Creditors was conducted and concluded on January 20, 2016.

          2.      Jeanne Y. Jagow was subsequently appointed the Chapter 7 Trustee and serves as the duly
                  qualified and acting Trustee in this case.

          3.      The Trustee determined that there was nonexempt equity in the Debtors’ personal residence
                  located at 570 London Ave., Lafayette, Colorado, 80026-1138.

          4.      After taking into account the costs of sale, the risks of a public sale and the age and
                  condition of the property, the Trustee and the Debtors entered into an agreement resolving
                  the estate’s interest in this property in which the Debtors agreed to pay the Trustee the sum
                  of $13,000.00 for the bankruptcy estate’s interest in this property, which has been paid in
                  full.

          5.      Trustee asserts that this compromise and settlement between the estate and the Debtors is
                  fair and reasonable, is in the best interest of the estate and its creditors, and should be
                  approved by the Court because the Trustee is receiving fair value for this property. A
                  settlement of this matter saves the bankruptcy estate any expenses and fees incurred in a
                  public sale, the bankruptcy estate is not guaranteed a specific price or value if this property
                  were sold at auction, and the Debtors are able to retain their personal residence as a part of
                  their financial fresh start.

        Wherefore, the Trustee requests that the Court enter an Order approving this compromise and
settlement.

 Dated:        August 14, 2017                               /s/Jeanne Y. Jagow
                                                            Jeanne Y. Jagow, Chapter 7 Trustee
                                                            P.O. Box 271088
                                                            Littleton, CO 80127
                                                            Telephone: (303) 798-1255
                                                            Facsimile: 303-265-9506
                                                            Email: jjagow@jagowlaw.us
